Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 1 of 15




               EXHIBIT 1
         Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 2 of 15
                                                                                I11111
                                                                                   11111111
                                                                                      III
                                                                                       11111
                                                                                         HillJ111p11111111111111111111
(12)   United States Patent                                                                   (10) Patent No.:                                          US 8,843,125 B2
       Kwon et al.                                                                            (45) Date of Patent:                                               Sep. 23, 2014

(54)   SYSTEM AND METHOD FOR MANAGING                                                      (56)                               References Cited
       MOBILE WALLET AND ITS RELATED
       CREDENTIALS                                                                                                U.S. PATENT DOCUMENTS

                                                                                                  5,221,838        A            6/1993             Gutman et al.
(75)   Inventors: Yongsung Kwon, Seongnam-si (KR);                                                6,199,762        B1           3/2001             Hohle
                  Hyungjoon Hong, Seoul (KR); Jiwon                                               6,480,957        B1          11/2002             Liao et al.
                  Kang, Seoul (KR); Hyunjin Kim,                                                  6,487,403        B2          11/2002             Carroll
                  Yongin-si (KR)                                                                  6,950,939        B2           9/2005             Tobin
                                                                                                  7,024,390        B1           4/2006             Mori et al.
(73)   Assignee: SK C&C, Seongnam, Gyeonggi-Do                                                    7,065,341        B2           6/2006             Kamiyama et al.
                                                                                                  7,146,159        B1          12/2006             Zhu
                 (KR)                                                                             7,149,545        B2          12/2006             Hurst et al.
                                                                                                  7,155,411        B1          12/2006             Blinn et al.
(*)    Notice:      Subject to any disclaimer, the term of this                                   7,197,297        B2           3/2007             Myles et al.
                    patent is extended or adjusted under 35                                                                             (Continued)
                    U.S.C. 154(b) by 446 days.
                                                                                                                     OTHER PUBLICATIONS
(21)   Appl. No.: 13/310,091
                                                                                           GlobalPlatform, Card Specification, Version 2.2, published Mar.
(22)   Filed:       Dec. 2, 2011                                                           2006.

(65)                   Prior Publication Data                                              Primary Examiner — Sam Bhattacharya
                                                                                           (74) Attorney, Agent, or Firm Lowe Hauptman & Ham,
       US 2012/0172026 Al             Jul. 5, 2012
                                                                                           LLP
                 Related U.S. Application Data
                                                                                           (57)                                    ABSTRACT
(60)   Provisional application No. 61/428,846, filed on Dec.
       30, 2010, provisional application No. 61/428,851,                                   A method for provisioning a contactless card applet in a
       filed on Dec. 30, 2010, provisional application No.                                 mobile device with a mobile wallet application, including
       61/428,852, filed on Dec. 30, 2010, provisional                                     activating the mobile wallet application, connecting to a
       application No. 61/428,853, filed on Dec. 30, 2010.                                 Trusted Service Manager (TSM) system, synchronizing the
                                                                                           mobile wallet application with the TSM system, displaying a
(51)   Int. Cl.                                                                            contactless card applet based on attributes of the mobile
       H04W 4/00                  (2009.01)                                                device, receiving a selection of a contactless card applet,
       H04W 12/04                 (2009.01)                                                retrieving a widget and a wallet management applet (WMA)
       H04L 29/06                 (2006.01)                                                corresponding to the contactless card applet, and provision-
       H04W 12/06                 (2009.01)                                                ing the selected contactless card applet, the widget, and the
(52)   U.S. Cl.                                                                            WMA. A wallet management system (WMS) in a non-tran-
       CPC             H04W 12/06 (2013.01); H04W 12/04                                    sitory storage medium to store and manage mobile wallet
                          (2013.01); H04L 63/067 (2013.01)                                 account information including a wallet client management
       USPC                                455/419; 455/410                                component, a widget management component, a device pro-
(58)   Field of Classification Search                                                      file management component, and a rule engine.
       USPC          455/410, 418, 419, 558; 705/16, 39, 41
       See application file for complete search history.                                                          25 Claims, 5 Drawing Sheets


                                                                                                                                                     110
                                                                               111                                                 112

                                        100                                Mibile Wallet Management System                          MS)


                                               Service Widget             Wallet Client Management               Widget Management
                                              Download/deletion
                                                                             113                   114                          115
                             Mobile
                             Device

                                             Wallet Service                Device Profile         User Profile                Data
                             SE
                                          (Payment, Coupon ing,            Management             Management               Management
                                              Loyalty, etc.)
                                                                                                                                                    6


                                                                                                   Rule Engine




                                                               Reque t       Authentication request'
                                                                                                         Subscription        Billing,         Wallet Service
                                                         SE Data Mgmt            Billing, Settlement
                                                                                                                        Settlement            Registration

                                                                                     120                            130                                    140

                                                                    TSM
                                                                                   J               MNO
                                                                                                                                        Service
                                                                                                                                        Provider
          Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 3 of 15


                                                     US 8,843,125 B2
                                                          Page 2


(56)                    References Cited                               7,822,439   B2     10/2010   Teicher
                                                                       7,822,688   B2     10/2010   Labrou et al.
                   U.S. PATENT DOCUMENTS                           2008/0010215    Al      1/2008   Rackley III et al.
                                                                   2008/0040265    Al      2/2008   Rackley III et al.
       7,233,785   B2    6/2007   Yamagishi et al.                 2008/0208742    Al      8/2008   Arthur et al.
       7,233,926   B2    6/2007   Durand et al.                    2009/0124234    Al      5/2009   Fisher et al.
       7,236,742   B2    6/2007   Hall et al.                      2009/0307139    Al     12/2009   Mardikar et al.
       7,286,818   B2   10/2007   Rosenberg                        2009/0307140    Al     12/2009   Mardikar
       7,389,123   B2    6/2008   Rydgren et al.                   2010/0125495    Al      5/2010   Smith et al.
       7,415,721   B2    8/2008   Fransdonk                        2010/0125508    Al      5/2010   Smith
       7,447,494   B2   11/2008   Law et al.                       2010/0138518    Al      6/2010   Aiglstorfer et al.
       7,454,233   B2   11/2008   Lu et al.                        2010/0145835    Al      6/2010   Davis et al.
       7,469,151   B2   12/2008   Khan et al.                      2010/0205432    Al      8/2010   Corda et al.
       7,490,775   B2    2/2009   Biderman                         2010/0211507    Al      8/2010   Aabye et al.
       7,527,208   B2    5/2009   Hammad et al.                    2010/0275242    Al     10/2010   Raffard et al.
       7,628,322   B2   12/2009   Holtmanns et al.                 2010/0275269    Al     10/2010   Vilmos et al.
       7,689,205   B2    3/2010   Toy et al.                       2010/0291904    Al     11/2010   Musfeldt et al.
       7,689,508   B2    3/2010   Davis et al.                     2010/0306107    Al     12/2010   Nahari
                                                                   2010/0330958    Al     12/2010   Corda et al.
       7,707,113   B1    4/2010   DiMartino et al.
                                                                   2011/0078081    Al      3/2011   Pirzadeh et al.
       7,708,194   B2    5/2010   Vawter                           2014/0089185    Al *    3/2014   Desai et al.         705/41
       7,711,392   B2    5/2010   Brown et al.
       7,819,307   B2   10/2010   Lyons et al.                 * cited by examiner
              Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 4 of 15




                                                                                                                                             lualud °Sil
Fig. 1



                                                                                                                               110
                                                        111                                                  112

                100
                                                    i
                                                   M bile Wallet Management System (                          MS)


                       Service Widget             Wallet Client Management              Widget Management
                      Download/deletion
                                                     113                  114                             115
     Mobile
     Device

                     Wallet Service                Device Profile        User Profile                  Data




                                                                                                                                             S Jo 1 WIN
     SE
                  (Payment, Couponing,             Management            Management                 Management
                      Loyalty, etc.)
                                                                                                                             16


                                                                          Rule Engine




                                       Request       Authentication request,I
                                                                                 Subscrip tion        Billin g,         Wallet Service
                                 SE Data Mgmt.           Billing, Settlement
                                                                                                 Settlement             Registration

                                                              120                          130                                       140




                                                                                                                                           za szt`cts's sa
                                                                                                                  Service
                                            TSM                            MNO
                                                                                                                  Provider
       Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 5 of 15




                                                                                                            lualud °Sil
Fig. 2. Install Wallet Application


                                      712                                     211
                                                        Mobile Push Server



                                        204                                  203
      100                                                 SMS Platform                         120



                                                         201
                  Mobile Device                                                    T M               02
2c7
                                                         205                             110
                                               24
              Mobile Wallet Application                  206

                                                         209
                                                                                                     10




                                                                                                            S Jo Z WIN
                                                         213
                                                                                   WM5
      Device Metnee                   OTA Proity         215

                               OF                        218
                                                                                                     14


                                     215       217

                   Secure Oen=
                                             . 21
                                      Wallet
                                    Management
                                      Applet
                          23
                                                   22
       Contactless card
           Applet




                                                                                                          za szt`cts's sa
                                        PPSE
            Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 6 of 15




                                                                                                                                            lualud °Sil
Fig. 3, Install Widget (prior SP rep;)


                                      307
                                                                   Mobile Push Server

                                                                                               305


                                                             100                                           120                   140




 1                 Mobile Device                                                             TSM     110               Service Provider
                                                                   302
                                                   24
                                                                   303
               Mobile Milt* Application
                                                                   305




                                                                                                                                            S Jo £ Pails
                                                                                                                 314
                                                                     305                     WMS

                                                                    104
                         OTA Proxy
                                                                         2



                                310           311

                       Secure Element                   21
                                    f
      310        311                   Wallet                                           kj         313
                                     Management
                                       Applet
                         23
                                                        22
      Contactless card




                                                                                                                                          za szt`cts's sa
          applets
                                            PPSE
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 7 of 15




                                                                                                           lualud °Sil
Fig. 4, Dynamic Filtering

                                                                                                   120



                                                                                             110

                                                                          TSIVI
                                      100
                                                                                  WMS

          Mobile Device

                                                                                  Rule Engine
                          24                401                   402
                                                                                     Device
                                                  Mobile G/W                      Information




                                                                                                             S JO 17 JaMIS
                                            405                  404
      Mobile Wallet Application   4
                                                                                     MNO



                                                                                        SP




                                                               List tai! available Apps
                                                               ContactEess card
                                                                                   23




                                                                                                         za szt`cts's sa
                                                                   Apple
             Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 8 of 15




                                                                                                        lualud °Sil
Fig. 5. Synchronization




                                  100          TSM Administrator       120                      140


                                                    501     110
          Mobile Device                              TSM

                                        502
                          24




                                                                                                        S Jo S WIN
                                        503
      Mobile Wallet Application                                        501
                                                                             Service Provider
                                                     WMS
                                        504



                                                                  04



                                                    501




                                                                                                      za szt`cts's sa
                                                     User
         Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 9 of 15


                                                       US 8,843,125 B2
                               1                                                                         2
      SYSTEM AND METHOD FOR MANAGING                                         With the advent of NFC-based contactless payment appli-
       MOBILE WALLET AND ITS RELATED                                      cations, users were provided a way to select a contactless
                CREDENTIALS                                               payment applet (i.e., contactless payment virtual card) from
                                                                          various contactless payment applets stored in the mobile
           CROSS REFERENCE TO RELATED                                5    device for payment at corresponding point-of-sale (POS)
                   APPLICATION                                            devices. However, while these contactless payment applets
                                                                          may be selected to make a purchase, the management of
   This application claims priority from and the benefit under            payment applets may be limited. For example, a user may be
35 U.S.C. §119(a) of U.S. Provisional Patent Application No.              limited to view the contactless payment applets stored in the
61/428,846, filed on Dec. 30, 2010, which is incorporated by         10   user's mobile device when interacting with a POS device.
reference for all purposes as if fully set forth herein. Also, the        Further, even if the user is able to view the various contactless
present application is related to U.S. Provisional Patent                 payment applets stored in the mobile device with or without
Application No. 61/428,851 filed on Dec. 30, 2010; U.S.                   the POS device, the user may be unable to view the details
Provisional Patent Application No. 61/428,852, filed on                   related to the contactless payment applets (e.g., account num-
December 30; and U.S. Provisional Patent Application No.              5   ber, expiration date, security code, balance and the like).
61/428,853, filed on December 30. Applicant hereby incor-                 Accordingly, users may be unable to effectively manage or
porates by reference the above-mentioned provisional appli-               keep track of various contactless payment applets stored in
cations, which are not admitted to be prior art with respect to           their respective mobile devices.
the present invention by their mention here or in the back-                  Typically, the contactless card applets may be stored within
ground section that follows.                                         20   a specific compartment, or a secured domain, of the SE to be
                                                                          accessed during an interaction with the POS device. More-
          BACKGROUND OF THE INVENTION                                     over, even when such payment applications are accessed,
                                                                          since these applications are managed through industry stan-
   1. Field                                                               dard Payment Procedure Secure Elements (PPSE) that only
   The following description relates to management of virtual 25          provide for application identification (ID) and label, a limited
cards stored on mobile devices.                                           generic description may be provided to the user. Accordingly,
   2. Discussion of the Background                                        the user may be unable to view any account specific informa-
   With the advent of advancing mobile technology, more                   tion stored within the SE or manage such applications with or
features have been integrated into mobile devices. From GPS               without the use of POS equipment.
applications to mobile office products, mobile devices, such 30              Another limitation of current mobile wallet applications is
as mobile communicative terminals, have practically become                the lack of support providing for such technology. With such
a necessity for everyday needs. In order to further utilize               focus on mobile commerce, many competing service provid-
mobile technology to better cater to a user's daily require-              ers seek delivering their services to the users. However, such
ments, attempts have been made to provide for a mobile                    services may be offered to the users without regard to the
financial management system to replace conventional physi- 35             mobile device capabilities or mobile service providers uti-
cal wallets. Specifically, this mobile wallet functionality was           lized by the user. Due to technical or business compatibility,
sought to be realized through provisioning of card issuer's               there may be numerous applications that may be inapplicable
account information directly into a secure element (SE) of the            to the user's individual attributes (e.g., bank membership,
mobile device equipped with Near Field Communication                      mobile service provider, manufacturer of a mobile device
(NFC) chipset. The SE may be a smart card chip capable of 40              owned by the user, type of secure element installed in the
storing multiple applications, including of account specific              mobile device, operating system of the mobile device, and the
information that may not be easily accessed by external par-              like). Accordingly, users may often be bombarded with vari-
ties. The model mobile wallet application may have the same               ous applications that may be inapplicable to the user, making
composition as a conventional wallet, which may contain                   the process more difficult than necessary.
payment cards, member cards, transportation cards, and loy- 45               Another issue with the current mobile wallet application is
alty cards.                                                               its ability to update its information. As various service pro-
   Further, to make the wallet function more convenient to the            viders operate independently from one another, when an
owners of the mobile device, a method of providing contact-               update is required by a particular service provider, each indi-
less payment (NFC-based applications) through provisioning                vidual application is typically updated separately. Such inef-
account specific information within the secure domain of the 50           ficiency may dissuade users from obtaining crucial updates
mobile device's SE has been provided. More specifically,                  that may be necessary to a particular application.
user financial credentials, such as credit card numbers, may
be provisioned onto mobile devices equipped with Near Field                                SUMMARY
Communication chipset (NFC enabled) to make payments.
Once the user financial credentials have been provisioned 55         Exemplary embodiments of the present invention provide a
onto the NFC enabled mobile device, the provisioned NFC           mobile device to store a mobile wallet application and a wallet
enabled device may transfer information or make payments to       management system (WMS) to store corresponding wallet
another NFC compatible device by coming near within a few         application information. Exemplary embodiments of the
centimeters of one another without physically contacting          present invention provide a method for provisioning a wallet
each other. This type of technology is conventionally referred 60 application, a contactless card applet, a wallet management
to as "contactless" technology and a payment made with this       applet (WMA), and a widget. Exemplary embodiments of the
technology is referred to as "contactless" payment.               present invention provide a method for synchronizing a
   However, regardless of benefits that may be obtained           mobile wallet application with the WMS.
through integrating wallet functionality into mobile device,         Additional features of the invention will be set forth in the
prevailing technology still lacks an effective means to man- 65 description which follows, and in part will be apparent from
age various payment applets residing within the mobile            the description, or may be learned by practice of the inven-
device.                                                           tion.
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 10 of 15


                                                      US 8,843,125 B2
                               3                                                                    4
   Exemplary embodiments of the present invention provide a           widgets, contactless card applets, and related credentials in
method for installing a wallet application in a mobile device         accordance with an exemplary embodiment of the present
including requesting, by the mobile device, a mobile wallet           invention.
application comprising a corresponding Over-the-Air (OTA)                FIG. 3 is a system diagram illustrating a system and
proxy; receiving mobile wallet application installation infor- 5 method for provisioning service provider specific mobile
mation; installing the mobile wallet application in the mobile        card widgets, contactless card applets, and wallet manage-
device; capturing mobile device information by using the              ment application account information in accordance with an
OTA proxy, the mobile device information comprising secure            exemplary embodiment of the present invention.
element (SE) information; and transmitting the mobile device             FIG. 4 is a system diagram illustrating a system and
information for registering the installed mobile wallet appli- 0 method for dynamically filtering applicable mobile wallet
cation.                                                               service provider specific widgets based upon user account
   Exemplary embodiments of the present invention provide a
                                                                      attributes in accordance with an exemplary embodiment of
method for managing mobile wallet accounts installed on a
                                                                      the present invention.
mobile devices including receiving a request for a mobile
                                                                         FIG. 5 is a system diagram illustrating a system and
wallet application from a mobile device; transmitting the 15
mobile wallet application to the mobile device; receiving             method   for synchronizing mobile wallet application with the
mobile device information, the mobile device information              master mobile wallet configuration server to provide a most
comprising SE information; and registering the mobile                 current version of the mobile wallet application in accordance
device and the corresponding mobile wallet application in a           with an exemplary embodiment of the present invention.
trusted service manager (TSM).                                     20
   Exemplary embodiments of the present invention provide                         DETAILED DESCRIPTION OF THE
method for provisioning a contactless card applet in a mobile                       ILLUSTRATED EMBODIMENTS
device comprising a mobile wallet application including acti-
vating the mobile wallet application; connecting to a TSM                The invention is described more fully hereinafter with ref-
system; synchronizing the mobile wallet application with the 25 erences to the accompanying drawings, in which exemplary
TSM system; displaying a contactless card applet based on             embodiments of the invention are shown. This invention may,
attributes of the mobile device; receiving a selection of a           however, be embodied in many different forms and should not
contactless card applet; retrieving a widget and a WMA cor-           be construed as limited to the embodiments set forth herein.
responding to the contactless card applet; and provisioning           Rather, these exemplary embodiments are provided so that
the selected contactless card applet, widget, and the WMA. 30 this disclosure is thorough, and will fully convey the scope of
   Exemplary embodiments of the present invention provide a           the invention to those skilled in the art. It will be understood
WMS in a non-transitory storage medium to store and man-              that for the purposes of this disclosure, "at least one of each"
age mobile wallet account information including a wallet              will be interpreted to mean any combination the enumerated
client management component to store and to manage a                  elements following the respective language, including com-
mobile wallet application; a widget management component 35 bination of multiples of the enumerated elements. For
to store and to manage widgets; a device profile management           example, "at least one of X, Y, and Z" will be construed to
component to store mobile device information; and a rule              mean X only, Y only, Z only, or any combination of two or
engine to filter a widget based on the mobile device informa-         more items X, Y, and Z (e.g. XYZ, XZ, YZ). Throughout the
tion.                                                                 drawings and the detailed description, unless otherwise
   Exemplary embodiments of the present invention provide a 40 described, the same drawing reference numerals are under-
mobile device including a SE; a mobile wallet application to          stood to refer to the same elements, features, and structures.
store a widget corresponding to a contactless card applet,            The relative size and depiction of these elements may be
wherein the contactless card applet is stored in the SE; a            exaggerated for clarity, illustration, and convenience.
WMA corresponding to the contactless card applet, wherein                FIG. 1 is a system diagram of a mobile wallet system and
WMA is stored in the SE; and an OTA proxy to provision the 45 associated integration, according to an exemplary embodi-
contactless card applet, a widget corresponding to the con-           ment of the present invention.
tactless card applet, and the WMA.                                       As shown in FIG. 1, an example system utilizing mobile
   It is to be understood that both foregoing general descrip-        wallet technology may include a mobile device 100, mobile
tions and the following detailed description are exemplary            wallet management system (WMS) 110, supporting Trusted
and explanatory and are intended to provide further explana- so Service Manager (TSM) system 120, Mobile Network Opera-
tion of the invention as claimed. Other features and aspects          tor (MNO) 130, and Service Provider (SP) 140.
will be apparent from the following detailed description, the            WMS 110 includes a wallet client management component
drawings, and the claims.                                             111, widget management component 112, device profile
                                                                      management component 113, user profile management com-
        BRIEF DESCRIPTION OF THE DRAWINGS                          55 ponent 114, data management component 115, and rule
                                                                      engine 116.
   The accompanying drawings, which are included to pro-                 In particular, wallet client management component 111 is
vide a further understanding of the invention and are incor-          responsible for the wallet application itself (referred as the
porated in and constitute a part of this specification, illustrate    container), which may house the individual widgets (e.g.,
embodiments of the invention, and together with the descrip- 60 applications stored at the application level related to a finan-
tion serve to explain the principles of the invention.                cial institution, transportation account, and the like). The
   FIG. 1 is a system diagram of a mobile wallet application          wallet client management component 111 may store con-
and associated integration in accordance with an exemplary            tainer specific information, including the type of wallet appli-
embodiment of the present invention.                                  cation and manufacturer. For example, wallet client manage-
   FIG. 2 is a system diagram illustrating a system and 65 ment component 111 may recognize a user John has a mobile
method for provisioning mobile card wallet management                 wallet application manufactured by Google® and has speci-
application along with supporting applications, mobile card           fied set of known functionalities. By managing the type of
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 11 of 15


                                                      US 8,843,125 B2
                               5                                                                    6
wallet application the user has on the mobile device, it may be     provisioned to reside within the respective mobile wallet
possible to provide the same wallet application when neces-         application 24. In an example, the widget representing the
sary.                                                               virtual card may reside within the mobile wallet application
   Widget management component 112 on the other hand is             24.
responsible for the individual widgets stored within the wallet 5      Once request is made, in step 202, the TSM system 120
container. Widgets may be an application configured to inter-       receives the mobile wallet application installation request and
face with a user of the mobile device. In an example, widgets       corresponding identification information and checks for
may refer to individual payment applications, transportation        duplicate records existing in the TSM system 120. If it is
applications, and other related applications. Device Profile        determined that the requesting customer is a new customer, a
management component 113 houses a memory to store one or 10
                                                                    new record is created within the TSM system 120. If the
more programs, such as applications, and other related infor-
                                                                    customer information already exists, TSM system 120 may
mation. Device Profile management component 113 may
                                                                    verify the existing customer and update the customer's infor-
store device specific information, such as information related
to the mobile device itself including type of mobile device,        mation, if applicable.
supporting operating system (OS), mobile service provider, 15          After a customer account has been created or updated, if it
and other relevant information. User Profile management             is determined that the mobile wallet application 24 is not
component 114 captures user identifying information such as         installed on the mobile device 100, the TSM system 120 will
name, address, birthday, phone number, and the like. Data           confirm the mobile wallet application installation request and
Management component 115 allows further expansion of                initiate the wallet application installation process. The instal-
data management services offered by a mobile WMS (e.g., 20 lation process may be initiated by transmitting a Wireless
transaction history, user preferences, loyalty programs, digi-      Application Protocol (WAP) message with an embedded Uni-
tal receipts, digital coupons and the like). Rule engine 116        form Resource Locator (URL) to the Short Message Service
may filter widgets based on information related to the mobile       (SMS) platform in step 203, which relays the message to the
device. Although various components were illustrated to be          mobile device 100 in step 204. However, the mobile wallet
included in the WMS 110, the configuration of WMS 110 is 25 application 24 may be obtained in various other ways as well
not limited thereto. The illustrated components may be              and is not limited to the WAP message method as described
included within the WMS 110 or external to the WMS 110.             above. The mobile wallet application 24 may be downloaded
   The disclosed WMS 110 may reside within TSM system               directly to the requesting mobile device 100, sent to the user
120 or independent of the TSM system 120. For the purposes          in a physical medium storing the application, or by other
of this disclosure, it will be assumed that the WMS 110 is 30 suitable methods for providing software applications.
housed within the TSM system 120. Like the TSM system                  The user, upon receipt of the installation message from the
120, WMS 110 may interact with MNO 130 to transmit and              SMS platform, may initiate the actual installation process by
receive billing related information. Further, WMS 110 may           sending a request to the TSM system 120 in step 205.
interact with SP 140 to receive and transmit SP payment card           In response, TSM system 120 transmits the requested
information.                                                     35 mobile wallet application 24 to mobile device 100 for instal-
   The TSM system 120 may refer to a third party entity             lation and an accompanying over-the-air (OTA) proxy pro-
positioned to consolidate various information from various          gram to allow OTA provisioning in step 206. Although mobile
service providers including, financial institutions, MNOs,          wallet application 24 and OTA proxy are shown as being part
handset manufacturers, and card manufacturers. As TSM sys-          of mobile device 100, an ordinarily skilled artisan under-
tem 120 may hold various information from various parties, 40 stands that these elements may not be present on mobile
the mobile device may interact with the TSM system indi-            device 100 until they are installed.
vidually rather than various discrete entities. Accordingly, the       Once the mobile wallet application 24 and accompanying
described TSM system 120 may act as an integration point for        OTA proxy program have been downloaded, the mobile wal-
all of the external parties the mobile device may deal with,        let application 24 may be launched by the requesting user in
providing for a seamless and more efficient operation of 45 step 207. Alternatively, the mobile wallet application 24 may
mobile services.                                                    be launched automatically once it is downloaded. Also, in the
   A method for installing a mobile wallet application and          event OTA proxy is already downloaded or installed, the
associated management applet in a secure element (SE) is            mobile wallet application 24 may be downloaded indepen-
described below in reference to FIG. 2. FIG. 2 is a system          dently of the OTA proxy. Although not illustrated, the accom-
diagram illustrating a system and method for installing a 50 panying OTA proxy may be included in the mobile wallet
mobile wallet application on the mobile device and correlat-        application 24.
ing wallet management applet in the SE of the mobile device            In step 208, the OTA proxy captures the mobile device
in accordance with an exemplary embodiment of the present           information (e.g. International Mobile Equipment Identity
invention.                                                          (IMEI)/Mobile Equipment Identifier (MEID), Mobile Sub-
   As shown in FIG. 2, in step 201, the mobile device 100 55 scriber Integrated Services Digital Network Number
requests a new mobile wallet application 24. In an alternative      (MSISDN)), including SE information (e.g. Card Production
flow, a SP 140 may request installation of the mobile wallet        Life Cycle (CPLC), Card Serial Number (CSN), Card Image
application 24 from the TSM system 120. When requesting             Number (CIN), Integrated Circuit Card Identification (IC-
installation of mobile wallet application 24 from the TSM           CID)), which may be stored in a device memory component
system 120, the TSM system 120 may wait for the mobile 60 of the mobile device 100. The OTA proxy may be a separate
device 100 to connect to the TSM system 120 before install-         component from the mobile wallet application 24, or may be
ing the mobile wallet application 24. The TSM system 120            included in the mobile wallet application 24.
may install the mobile wallet application 24 directly upon             Afterwards, in step 209, the OTA proxy sends the captured
connection to the mobile device 100 or wait until the user          SE and mobile device information to the TSM system 120,
approves the request to install the mobile wallet application 65 which may house a WMS 110 (as shown in FIG. 2) or be in
24. If installation is executed, a corresponding widget repre-      communication with an external WMS 110 (as shown in FIG.
senting a virtual card, such as a virtual credit card, may be       1).
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 12 of 15


                                                     US 8,843,125 B2
                              7                                                                       8
   The WMS 110, upon receipt of the information provided               mation and converts the identifying information along with
by the OTA proxy, creates a Mobile identification (ID) for the         the request to provision WMA 21 container into Application
installed mobile wallet application 24 in step 210. Once the           Protocol Data Unit (APDU) commands in step 214 and sends
mobile ID has been created, the WMS 110 requests TSM                   them over to OTA proxy in step 215.
system 120 to provision a corresponding wallet management         5       Next, in step 216, OTA proxy receives the APDU com-
applet (WMA) 21 with the following information via OTA                 mands to install WMA 21 container and relays them to the SE,
proxy: CPLC or CSN, CIN, Mobile ID and WMA personal-                   which processes the APDU commands to install the requested
ization data. In an example, WMA 21 may include both a                 WMA 21 container and its associated credentials. SE then
WMA 21 container and one or more WMA 21 applets. WMA                   responds back with the result of each command request in
21 container may manage the information stored in the WMA         10   step 217. Although WMA 21 container, PPSE 22, and Con-
21 applets. WMA 21 container may be installed in the mobile            tactless Card Applet 23 are shown as being part of mobile
device 100 when WMA 21 applet is requested to be installed,            device 100, an ordinarily skilled artisan understands that
or when the mobile wallet application is installed, or sepa-           these elements may not be present on the SE of the mobile
rately without regard to either the WMA 21 applet or the               device 100 until they are installed.
mobile wallet application.                                        15       Subsequently, OTA Proxy relays the result back to the TSM
   The WMA 21 container is a software application that may             system 120 in step 218, and the TSM system 120 updates its
reside within the SE of the mobile device 100 to manage                system with the result.
account information related to the contactless card applet 23              Once the mobile wallet application 24 has been success-
(i.e. WMA 21 applet) that may be typically inaccessible by             fully installed in the mobile device 100, the user may provi-
the user. In an example, the SE may store one or more con-        2o   sion SP 140 specific contactless card applets 23, and its cor-
tactless card applets that may be used through a mobile device         responding widget applications and WMA 21 applet onto
100 with NFC capability, but the contactless card applets may          mobile device 100.
largely be inaccessible by the user. More specifically, during             FIG. 3 is a system diagram illustrating a method for install-
a financial transaction, the NFC enabled mobile device may             ing a mobile widget into the mobile wallet application 24 and
transmit contactless card information, which may include          25   its corresponding contactless card applet and account infor-
account specific information to a POS device to complete the           mation into the SE of the requesting mobile device in accor-
transaction. However, even during this transaction, the user is        dance with an exemplary embodiment of the present inven-
typically limited to the selection of a generic logo corre-            tion.
sponding to the contactless card applet being used in the                  In step 301, the user logs into the mobile wallet application
transaction, but no account specific information may              30   24 to start the mobile wallet application 24 for use. Once
accessed by the user of the mobile device 100. In an example,          started, the mobile wallet application 24 connects to the TSM
account specific information may include credit card number,           system 120, which may house WMS 110, for synchronization
expiration date, security code (e.g., a combination of numbers         in step 302. A more detailed description of how this synchro-
typically found on back of credit cards), personal identifica-         nization process operates is provided below with reference to
tion number (PIN) (e.g., a combination of numbers typically       35   FIG. 5.
used to conduct financial transactions with the user's finan-              TSM system 120 checks for any updated information made
cial institution), and other related information.                      by external parties (e.g. SP 140, user by web access, TSM
   To provide the user of the mobile device with the account           system 120 administrator, and/or etc.) and sends the list of
specific information related to contactless card applets, sepa-        waiting updates to the mobile wallet application 24 in step
rate account information associated with the corresponding        40   303. Further, additional applications that user may be inter-
contactless card applet 23 (e.g. credit card number, expiration        ested in may be displayed for download through dynamic
date, security code, PIN, etc.) may be provisioned into the SE         filtering. The applicable applications based on user attributes
as WMA 21 applets. The respective account information or               will be displayed through this filtering process. A more
WMA 21 applet may be provided by duplicating the account               detailed description of how this dynamic filtering works is
information associated with the contactless card when the         45   provided below with reference to FIG. 4.
TSM system receives contactless card applets from SPs to                   The mobile device user is prompted to decide whether to
provision into the mobile device 100. Alternatively, SP pro-           update the mobile wallet application 24 with the changes
viding the contactless card applet may provide the account             made at the TSM system 120, if any, in step 304. Alterna-
related information separately to the TSM system for provi-            tively, the mobile device may update the mobile wallet appli-
sioning.                                                          50   cation 24 automatically with the respective changes in step
   In step 211, TSM system 120 sends a wake up message to              304.
the mobile push server (e.g. Cloud to Device Messaging                     When the mobile device 100 updates the mobile wallet
(C2DM)) with a mobile device identifier to wake up OTA                 application 24 or downloads a new application, a request is
proxy residing in the requesting mobile device 100.                    made to the TSM system 120/WMS 110 to provision the
   The mobile push server routes the received message to the      55   updates and/or selected card applications in step 305. If a
mobile wallet application 24, which in turn sends the request          request to update requires updating of account specific infor-
to OTA proxy and wakes OTA proxy in step 212.                          mation, such as change in account number or expiration date,
   In step 213, the OTA proxy gathers mobile device and SE             the process to update the application will follow the same
specific information such as MSISDN and CIN and sends it               steps regardless of the information being updated.
over to TSM system 120. In an example, OTA proxy gathers          60       Further, if a request to provision the selected contactless
mobile device and SE specific information to send to TSM               card applet 23 is made, such as a "VISA®" contactless card
system 120 every time it is woken up. Alternatively, this step         applet, a corresponding widget and WMA 21 applet may be
may be skipped and the mobile device and SE information                programmed to be provisioned automatically. The corre-
provided in step 209 to register the mobile device 100 and the         sponding widget may reside in the mobile wallet application
wallet application may be used.                                   65   24, at the application level, to provide an interface to the user.
   Once TSM system 120 receives the information sent by                The corresponding WMA 21 applet, which may include
OTA Proxy in step 213, TSM system 120 processes the infor-             account specific information of the contactless card apple
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 13 of 15


                                                     US 8,843,125 B2
                              9                                                                   10
(e.g. credit card number, expiration date, security code, PIN,      allow request for modification to the TSM system 120, which
etc.), may be provisioned into the SE. By installing both the       in turn will make the request to the relevant external parties.
WMA 21 applet and the widget, the user may view and                 While the described process illustrates a preferred embodi-
manage the information stored in the WMA 21 applet through          ment of the present invention, the amount of modification
the corresponding widget.                                         5 allowed by the WMA 21 container is not limited to what has
   TSM system 120 processes the provisioning request and            been described. In some instances, WMA 21 container may
sends a wake up message request to the mobile push server in        allow direct modification to the account specific information
step 306, and the push server proceeds to relay the request the     as dictated by business needs.
mobile wallet application 24, which in turn sends the message          FIG. 4 is a system diagram illustrating a method for
to OTA proxy, thereby waking OTA proxy in step 307.
                                                                    dynamically filtering a list of mobile widget applications that
   In step 308, OTA proxy wakes up and gathers mobile
                                                                    are available for installation based upon corresponding
device and SE specific information, such as MSISDN and
                                                                    mobile device attributes in accordance with an exemplary
CIN, and sends the collected information to TSM system 120.
   Once TSM system 120 receives the information sent by             embodiment of the present invention.
OTA Proxy, TSM system 120 processes the received infor- 15             In step 401, the user logs into the mobile wallet application
mation along with the provisioning command and converts             24, which seeks to connect with the TSM system 120/WMS
both the received information along with the provisioning           110.
command into APDU commands to send to OTA proxy in                     The TSM system 120 receives the connection request
step 309. When sending the APDU commands, the contact-              through a mobile gateway residing within the TSM system
less card applet and the corresponding WMA 21 applet are 20 120 and relays the request to a Rule Engine in TSM system
sent to OTA proxy for provisioning into the SE. However,            120 in step 402. The TSM system 120 queries the user
since the widget is provisioned at the application level and not    account in its system in step 403 for equipment information,
into the SE, the widget may be provisioned through the OTA          MNO, SP accounts, and any other relevant information.
proxy or through a wireless network.                                Based on the mobile device 100 attributes, a filtered list of
   Next, in step 310, OTA proxy receives the APDU com- 25 downloadable applications from the TSM system 120 may be
mands from the TSM system 120 to install requested issuer           displayed to the mobile device. In an example, mobile device
contactless applets 23 and correlating WMA 21 applet to be          100 attributes may include, without limitation, the mobile
provisioned. In an example, contactless applets 23 and cor-         network provider of the mobile device 100 (e.g. "Sprint®,"
relating WMA 21 applet are provided in different domains of         "Verizon®", AT&T®", etc.), financial institutions associ-
the same SE. In response, SE processes the APDU commands 30 ated with the contactless card applets stored (e.g. "Wacho-
for both the contactless applet and the WMA 21 applet and           via®," "Bank of America®," "Chase®", etc.), mobile device
sends back the result of each command request in step 311. As       100 manufacturer (e.g. "HTC®", "Motorola®", Apple®",
APDU commands may be processed one at a time, multiple              etc.), and mobile device 100 hardware specifications (i.e.
communications may be passed back and forth between the             hardware, software, operating system, etc.).
OTA proxy and the SE.                                            35    Here, TSM system 120 may house a large list of available
   Subsequently, OTA Proxy relays the result back to the TSM        applications, including contactless card applets 23, as illus-
system 120 in step 312, and the TSM system 120 updates its          trated in FIG. 4. TSM system 120 may house various appli-
system with the result of the request in step 313. Once infor-      cations without regard to the device capabilities, SPs' rela-
mation is updated, notification of the results is sent to SP 140    tionship with other SPs, or other limitations that may be
in step 314. Similarly, the mobile wallet application 24 noti- 40 inherent in the business or technical environments. However,
fies TSM system 120 of the result of the widget installation.       as an individual user connects with the TSM system 120 to
For example, the mobile wallet application 24 will notify the       download new applications, TSM system 120 may dynami-
TSM system 120 whether the widget installation was a suc-           cally filter the list of available applications based upon the
cess or a failure.                                                  mobile device attributes described above.
   Once account specific information is installed into WMA 45          As many mobile devices operate with various operating
21 container as WMA 21 applet, the respective mobile device         systems and standards, not all of the applets provided by the
100 may access the information periodically for required            SP may be compatible with the user mobile device or user's
updates. For example, the mobile device 100 may access the          MNO. Because of lack of standardization of hardware and
information stored in the WMA 21 applet using the mobile            software on mobile devices, an efficient method to filter only
wallet application 24 to check for the expiration dates of the so the relevant applets is helpful. Along with these technical
contactless card applets 23 stored within the mobile device         limitations, many MNOs and SPs may decide not to provide
100 and prompt user for updates as necessary. Alternatively,        their services to each other for business reasons. As the gen-
the mobile wallet application 24 may check for updates auto-        eral public may not be familiar with such knowledge, an
matically. In addition, the user may also gain access to the        additional filtering mechanism may be provided to provide
account number, security code, and corresponding expiration 55 only the applicable applets to the requesting user. In an
date as necessary to make purchases online for further utility.     example, all of the provided limitations may be managed and
In an example, the information stored in the WMA 21 applet          applied by the Rule Engine in the TSM system 120. The Rule
may allow the mobile device 100 to check the expiration date        Engine may be housed in the TSM system 120 or may exist as
of the contactless card applet 23 and request update when the       an external entity, which interacts with TSM system 120
card applet expires.                                             60 through a network. Further, the Rule Engine may be a com-
   WMA 21 container may, however, limit amount of change            bination of software and hardware, software to apply and
requests to the WMA 21 applet as they contain account spe-          manage the rules and hardware to store the relevant rules.
cific information. For example, the number of times expira-         Accordingly, by providing an active dynamic filtering mecha-
tion date may be changed with a reference time period may be        nism at the TSM system 120 level, all of the parties involved
limited, or changes to the credit card numbers may be pro- 65 in such transaction need to make only a general request to the
hibited. In addition, WMA 21 container may prevent user             TSM system 120 to access and to provide customer specific
from making changes directly in the WMA 21 applet but               services.
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 14 of 15


                                                      US 8,843,125 B2
                             11                                                                      12
    Once the list of applicable applets have been dynamically           tion. Thus, it is intended that the present invention cover the
filtered, TSM system 120 sends the list of applets to display to        modifications and variations of this invention provided they
the mobile gateway in step 404, which relays it back to the             come within the scope of the appended claims and their
mobile wallet application 24 in step 405.                               equivalents.
    In FIG. 5, a system diagram is provided for synchronizing      5       What is claimed is:
the mobile wallet application residing within the mobile                   1. A method for installing a wallet application in a mobile
device with the TSM system in accordance with an exemplary              device, comprising:
embodiment of the present invention. As with many elec-                    requesting, by the mobile device, a mobile wallet applica-
tronic devices that may be prone to damage and wear, or often                 tion comprising a corresponding Over-the-Air (OTA)
misplaced, a centralized management or storage may be ben-         10         proxy;
eficial to maintain a master file of the user wallet configura-            receiving mobile wallet application installation informa-
tion.                                                                         tion;
    In step 501, multiple external parties, such as credit card            installing the mobile wallet application in the mobile
service providers as illustrated in FIG. 5, may send a request                device;
for changes to be made to the user's mobile wallet configu-        15      capturing mobile device information by using the OTA
ration directly to the TSM system 120/WMS 110, which may                      proxy, the mobile device information comprising secure
store the master configuration of the respective mobile wallet                element (SE) information; and
application 24. In addition, TSM system 120 administrators                 transmitting the mobile device information for registering
and the user themselves may access the TSM system 120 via                     the installed mobile wallet application.
web access or any other remote access functionality. As the        20      2. The method of claim 1, wherein installing the mobile
mobile wallet application 24 may not always be on, a central            wallet application in the mobile device comprises automati-
repository allows external parties to make the necessary                cally installing upon receipt of the mobile wallet application
requests without regard to user's mobile wallet application             installation information.
24's operating status. For example, SPs 140 may request an                 3. The method of claim 1, further comprising provisioning
additional contactless card applet 23 to be provisioned to the     25   a wallet management applet (WMA) container into the SE of
user's SE on their own time without regard to the mobile                the mobile device.
wallet application 24's operating status. Similarly, TSM sys-              4. The method of claim 1, wherein receiving mobile wallet
tem 120 itself may recognize that the expiration date of the            application installation information comprises:
respective application is coming up and prompt the user to                 receiving a Wireless Application Protocol (WAP) message
update the card for provisioning when the mobile wallet            30         with an embedded Uniform Resource Locator (URL)
application 24 connects to the system.                                        from a Short Message Service (SMS) platform.
    While only TSM system 120 administrator, SP 140, and the               5. The method of claim 1, wherein capturing mobile device
user were displayed, the requesting party may be any external           information comprises:
party to the TSM system 120.                                               capturing at least one of an International Mobile Equip-
    Subsequently, in step 502, when the user logs into the         35         ment Identity (IMEI), a Mobile Equipment Identifier
mobile wallet application 24, the mobile wallet application 24                (MEID), a Mobile Subscriber Integrated Services Digi-
checks with the TSM system 120/WMS 110 for any modifi-                        tal Network Number (MSISDN), a Card Production Life
cations to the wallet configuration since the last login by the               Cycle (CPLC), a Card Serial Number (CSN), a Card
user. As the mobile wallet application 24 synchronizes every                  Image Number (CIN), and an Integrated Circuit Card
time the application is logged into, the user can be sure that     40         Identification (ICCID).
the user has access to the most current information during use.            6. The method of claim 3, wherein provisioning a WMA
In addition, by limiting synchronization events to access of            container into the SE comprises:
mobile wallet application 24, secure access to sensitive infor-            transmitting a request to provision the WMA container;
mation is provided only when the user is utilizing the mobile                 and
wallet application 24. However, if desired, mobile wallet          45      receiving the WMA container installation information in
application 24 may always be in sync by automatically when-                   Application Protocol Data Unit (APDU) commands;
ever mobile device is on and has mobile signal.                               and
    Any updates made in the WMS 110 while mobile wallet                    provisioning the converted APDU commands to the SE.
application 24 was offline will be prompted for the user to                7. A method for managing mobile wallet accounts installed
make the updates in step 503. User may update one applica-         50   on mobile devices, comprising:
tion at a time or all at once if such is desired. Also, the user           receiving a request for a mobile wallet application from a
may set the application to automatically update every change                  mobile device;
made in the TSM system 120/WMS 110 at synchronization.                     transmitting the mobile wallet application to the mobile
    In step 504, while mobile wallet application 24 is still                  device;
active, any modifications that are made in the mobile wallet       55      receiving mobile device information, the mobile device
application 24 itself will be updated in the WMS 110 in step                  information comprising secure element (SE) informa-
505 as synchronization is a continuous one during usage. For                  tion; and
example, if the user changes a user preference on the mobile               registering the mobile device and the corresponding
wallet application 24, changes to the user preference may be                  mobile wallet application in a trusted service manager
updated into the WMS 110 in real time. Similarly, if the           60         (TSM).
mobile device 110 prompts the user to update the expiration                8. The method of claim 7, wherein registering the mobile
date of the contactless applet and the user agrees, user's              device and the corresponding mobile wallet application in a
request will be submitted to TSM system 120, which will                 TSM comprises:
process the request and route it to SP 140 for processing.                 checking for registered account information corresponding
    It will be apparent to those skilled in the art that various   65         to the requesting mobile device in the TSM system; and
modifications and variation can be made in the present inven-              registering the mobile device in the TSM system in
tion without departing from the spirit or scope of the inven-                 response to no corresponding registered account infor-
        Case 6:18-cv-00372-ADA Document 71-2 Filed 09/12/19 Page 15 of 15


                                                     US 8,843,125 B2
                             13                                                                       14
      mation being found in the TSM system, or updating                   receiving the contactless applet, the WMA, and the widget
      account information in response to finding the corre-                  information through OTA proxy.
      sponding registered account information in the TSM                  17. The method of claim 16, wherein account specific
      system.                                                          information comprises at least one of a payment card number,
   9. The method of claim 7, further comprising transmitting      5    a security code, an expiration date, and a personal identifica-
                                                                       tion number (PIN).
an accompanying over-the-air (OTA) proxy application to the
                                                                          18. A wallet management system (WMS) in a non-transi-
mobile device.                                                         tory storage medium to store and manage mobile wallet
   10. The method of claim 8, wherein registering the mobile           account information, comprising:
device comprises:                                                         a wallet client management component configured to store
                                                                  10
   creating a mobile identifier for the installed mobile wallet              and to manage a mobile wallet application;
      application;                                                        a widget management component configured to store and
   storing the mobile device information; and                                to manage widgets;
   connecting the mobile device information with the mobile               a device profile management component configured to
      identifier.                                                            store mobile device information; and
                                                                  15      a rule engine configured to filter a widget based on the
   11. A method for provisioning a contactless card applet in
a mobile device comprising a mobile wallet application, the                  mobile device information,
method comprising:                                                        wherein said wallet management system is configured to
   activating the mobile wallet application;                                 receive the mobile device information from a mobile
   connecting to a Trusted Service Manager (TSM) system;                     device and store the mobile device information in the
                                                                  20         device profile management component, and
   synchronizing the mobile wallet application with the TSM
      system;                                                             wherein said wallet management system is configured to
   displaying a contactless card applet based on attributes of               register the mobile device and the mobile wallet appli-
      the mobile device;                                                     cation in a Trusted Service Manager (TSM) system.
   receiving a selection of a contactless card applet;                    19. The WMS of claim 18, wherein the wallet client man-
   retrieving a widget and a wallet management applet             25   agement component further stores wallet application specific
      (WMA) corresponding to the contactless card applet;              information comprising at least wallet application type and
      and                                                              wallet application manufacturer information.
   provisioning the selected contactless card applet, the wid-            20. The WMS of claim 18, wherein the mobile device
      get, and the WMA.                                                information comprises at least one of a mobile device type, a
   12. The method of claim 11, wherein synchronizing the          30   supporting Operating System (OS), a mobile service pro-
mobile wallet application with the TSM system comprises:               vider, a mobile device manufacturer, and a secure element
   receiving a change made to a mobile wallet application              (SE) type.
      user account on the TSM system; and                                 21. The WMS of claim 18, further comprising a user profile
   provisioning the changed information.                               management component to capture and manage user identi-
   13. The method of claim 11, wherein synchronizing the          35   fying information.
mobile wallet application with the TSM system comprises:                  22. The WMS of claim 18, wherein the WMS is hosted on
   checking for a change made to a configuration of the                the TSM system.
      mobile wallet application; and                                      23. A mobile device, comprising:
   transmitting the change to the TSM system.                             a secure element (SE);
                                                                  40      a mobile wallet application configured to store a widget
   14. The method of claim 11, wherein displaying a contact-
less card applet based on attributes of the mobile device                    corresponding to a contactless card applet, wherein the
comprises:                                                                   contactless card applet is stored in the SE;
   retrieving mobile device information comprising SE infor-              a wallet management applet (WMA) corresponding to the
      mation;                                                                contactless card applet, wherein the WMA is stored in
                                                                  45         the SE; and
   transmitting the mobile device information; and
   receiving filtered contactless card applet for provisioning,           an over-the-air (OTA) proxy configured to provision the
      wherein the contactless card applet is filtered based on               contactless card applet, a widget corresponding to the
      the mobile device information.                                         contactless card applet, and the WMA,
   15. The method of claim 14, wherein displaying the con-                wherein said OTA proxy is configured to capture mobile
                                                                  50         device information comprising SE information; and
tactless card applet further comprises:
   receiving filtered contactless card applet for provisioning,           wherein said OTA proxy is configured to transmit the
      wherein the contactless card applet is filtered based on               mobile device information for registering the mobile
      the business rules.                                                    wallet application.
   16. The method of claim 11, wherein provisioning the                   24. The mobile device of claim 23, wherein WMA is con-
selected contactless card applet, WMA and widget com-             55   figured to store account information associated with the con-
prises:                                                                tactless card applet, and the widget is configured to include a
   transmitting a request for installation of the contactless          user interface.
      applet and the corresponding widget and WMA to be                   25. The mobile device of claim 24, wherein the account
      installed, wherein the WMA is a software application             information comprises at least one of a card number to access
      configured to store account specific information and the    60   financial information, a security code, a personal identifica-
      widget is an application configured to interface with a          tion number (PIN), and an expiration date.
      user of the mobile device; and                                                          *   *   *    *   *
